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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

United States of America,

        Plaintiff                             Case No:     1:07-cr-213-05

v.                                            HONORABLE PAUL L. MALONEY
                                              Chief United States District Judge
Shawn B. Echols,
                                              OPINION AND ORDER DENYING
     Defendant                                DEFENDANT’S MOTION FOR
______________________________/               CREDIT TIME SERVED


                                        FACTS

       Defendant Echols through his counsel has filed a “Motion for Credit Time
Served” (Dkt #285) between October 16, 2007 and August 18, 2008. For the reasons
set forth below, his motion is DENIED.

      Defendant was arrested on October 16, 2007 by law enforcement authorities and
lodged in the Berrien County Jail. Shortly thereafter, he was arraigned on a state charge
of Delivery or Possession with Intent to Deliver Less than 50 Grams of Cocaine – 2nd
Offense, and lodged in the County jail in lieu of bond. (State Case No. 2007 405480-
FH).

       Mr. Echols was first indicted in this case on November 7, 2007, pursuant to a
First Superseding Indictment adding him as co-defendant. He remained in the Berrien
County Jail until his arrest by federal authorities on December 3, 2007. His arrest and
custody was effectuated by a Writ issued on November 20, 2007. On November 26,
2007, defendant pled guilty to felony charges in State Court.

      Defendant’s first appearance in Federal Court occurred on December 3, 2007.
(Dkt #79). He pled not guilty on December 7, 2007 and his detention was continued
pending disposition of the indictment. (Dkt #83).



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       The Defendant returned to Berrien County for sentencing on the above referenced
state charges. On January 7, 2008, he received a sentence of 12 months to 20 years in
prison. By state law, Defendant was entitled to credit for time served since his arrest on
October 16, 2007. MCL 769.11(b).

      On April 4, 2008, Defendant pled guilty to Count 1 of the Superseding Felony
Information. (Dkt #165). See Dkt #176. After acceptance of the plea by this court (Dkt
#194), Defendant was sentenced on August 18, 2008, to 114 months. Dkt #233 and
#241.


                                                 OPINION

       For several reasons, Defendant is not entitled to any credit on his federal sentence
for time served between October 16, 2007 and August 18, 2008.

       First, Congress has made clear that a Defendant cannot receive double credit for
his detention time. United States v Wilson, 503 U.S. 329, 112 S. Ct. 1351, 1356 (1992).

      Second, a federal sentence does not begin to run when a federal Defendant is
produced for prosecution by a federal writ of habeas corpus ad prosequendum from state
custody. United States v. Cole, 416 F3d 894, 897 (8th Cir 2005).

         Third, the earliest date a federal sentence can commence is the date it is imposed.
    The concurrent sentence imposed here commenced no earlier than August 18, 2008.

       Mr. Echols received state credit for time already served from October 16, 2007
until the date of his state sentencing on January 7, 2008. Accordingly, he cannot also
receive credit on his federal sentence for that same period. United States v Wilson, 112
S. Ct. at 1356.

       Between January 7, 2008 and August 18, 2008 (when this court imposed a
concurrent sentence as of that date), the state had not relinquished primary jurisdiction
over Mr. Echols. Primary Jurisdiction continues until the state relinquishes priority by
1) release on bond, 2) dismissal of charges, 3) parole, or 4) expiration of sentence.
None of those events had occurred as of August 18, 20081. Accordingly, he is not
entitled to any credit on his federal sentence prior to its imposition. Cole, id.

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 Defendant was paroled on the state charge on November 6, 2008.
See www.state.mi.us/mdoc/asp/otis2profile.asp?mdocNumber=256909
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     Accordingly, Defendant’s Motion is DENIED.

     IT IS SO ORDERED.


DATED: September 11, 2009                /s/ Paul L. Maloney
                                         Paul L. Maloney
                                         Chief United States District Judge




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